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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
 THEOPHALIS (BINKY) WILSON,                          :
                 Plaintiff,                          :
                                                     :
        v.                                           :
                                                     :       2:21-cv-02057-JMY
 CITY OF PHILADELPHIA, et al.,                       :
                 Defendants.                         :
                                                     :
                                                     :
                                                     :


                                      [PROPOSED] ORDER


       AND NOW, this ____________ day of __________________, 2022, upon consideration of

Defendant John Grier’s Motion to Dismiss, and any response thereto, it is hereby ORDERED

that the Motion is GRANTED. Plaintiff’s claims against former Officer John Grier are

DISMISSED.



       ___________________________________________

       JUDGE JOHN MILTON YOUNGE
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                             :
 THEOPHALIS (BINKY) WILSON,                  :
                 Plaintiff,                  :
                                             :
        v.                                   :
                                             : 2:21-cv-02057-JMY
 CITY OF PHILADELPHIA, et al.,               :
                 Defendants.                 :
                                             :
                                             :
                                             :



DEFENDANT JOHN GRIER’S MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

       Defendant John Grier (“Moving Defendant”) moves to dismiss Plaintiff’s Amended

Complaint pursuant to Rule 12(b)(6). In support of this motion, Moving Defendant

incorporates the attached Memorandum of Law, and respectfully requests that this Court

grant his motion for the reasons more fully set forth in the Memorandum.

       WHEREFORE, Moving Defendant respectfully requests that this Court grant his

Motion to Dismiss, and dismiss all portions of Plaintiff’s Complaint directed towards

Moving Defendant with prejudice pursuant to Rule 12(b)(6) for the reasons stated in the

accompanying Memorandum of Law.

                                                 Respectfully submitted,

Dated: June 17, 2022                             /s/Alison J. Guest
                                                 ALISON J. GUEST (Pa. ID No. 202551)
                                                 AHMAD ZAFFARESE LLC
                                                 1 South Broad Street, Suite 1810
                                                 Philadelphia, PA 19107
                                                 Counsel for Defendant John Grier
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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               :
 THEOPHALIS (BINKY) WILSON,                    :
                 Plaintiff,                    :
                                               :
         v.                                    :
                                               : 2:21-cv-02057-JMY
 CITY OF PHILADELPHIA, et al.,                 :
                 Defendants.                   :
                                               :
                                               :
                                               :


DEFENDANT JOHN GRIER’S MEMORANDUM OF LAW IN SUPPORT OF HIS MOTION TO
               DISMISS PLAINTIFF’S AMENDED COMPLAINT

   I.         INTRODUCTION

        In his Complaint, Plaintiff Theophalis (Binky) Wilson alleges that Philadelphia police

officers and detectives (“PPD”) and Philadelphia District Attorney’s Office prosecutors

(“PDAO”), took unconstitutional actions resulting in his wrongful conviction. Consequently,

he served twenty-eight years in prison for three homicides he did not commit. In general

terms, Plaintiff claims that the defendant police officers and detectives failed to pursue

active leads in three fatal shootings. They surmise that this alleged inaction allowed the

investigation to grow cold until prison informant James White gave allegedly false

information implicating Plaintiff in the three shootings. See generally Plaintiff’s Amended

Complaint, ECF No. 37. Plaintiff’s nine-count Amended Complaint alleges that the

defendants violated state and federal law.

        The specific claims are as follows:

        •     Count I: Malicious Prosecution, in violation of the Fourth and Fourteenth
              Amendments, as to all Defendants;
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          •    Count II: Deprivation of Liberty without Due Process of Law and Denial of Fair
               Trial by Fabricating Evidence, Withholding Material Exculpatory and
               Impeachment Evidence, and Deliberately Failing to Conduct a Constitutionally
               Adequate Investigation, in Violation of the Fourth and Fourteenth Amendments,
               as to all Defendants;

          •    Count III: Deprivation of Liberty without Due Process of Law and Denial of Fair
               Trial by Fabricating and Coercing Evidence and Withholding Material
               Exculpatory and Impeachment Evidence in Violation of the Fourth and
               Fourteenth Amendments, as to all Defendants;

          •    Count IV: Unconstitutional Failure to Intervene, as to all PPD Officers and
               Supervisors, and former Philadelphia District Attorney Lynne Abraham;

          •    Count V: Civil Rights Conspiracy, as to all Defendant PPD Officers and
               Supervisors;

          •    Count VI: Supervisory Liability Claim, as to Defendants the City of Philadelphia,
               PPD Supervisors and Former District Attorney Lynne Abraham;

          •    Count VII: Monell Claim, Unconstitutional Customs, Policies and Practices, as to
               the City of Philadelphia;

          •    Count VIII: Malicious Prosecution under Pennsylvania state law, as to all
               Defendants;

          •    Count IX: Intentional or Reckless Infliction of Emotional Distress under
               Pennsylvania state law, as to all Defendants.

          Moving Defendant, former Philadelphia Police Officer John Grier ( “Moving

Defendant”) now moves to dismiss Plaintiff’s claims against him, as follows.

    II.        RELEVANT FACTUAL BACKGROUND1

          For purposes of this motion, the allegations of Plaintiff’s 330-paragraph Amended

Complaint will be distilled to its most salient points. Three men, Kevin Anderson, his

brother Gavin Anderson, and Otis Reynolds were shot and killed in similar fashion within a


1      Solely for purposes of this Motion to Dismiss, and as he must, Moving Defendant
accepts as true facts as pleaded in Plaintiff’s Amended Complaint. Markowitz v. Northeast
Land Co., 906 F.2d 100, 103 (3d Cir. 1990); see also Conley v. Gibson, 335 U.S. 41, 47 (1957).
Moving Defendant does not, however, concede that all allegations in the Amended
Complaint are supported by a factual basis following a reasonable investigation.
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two-mile radius of each other between September 25 and September 26, 1989. Am.

Compl., ECF No. 37, ¶ ¶ 3, 52-54, 69-70, 75-76. During the initial investigation of these

murders (the “three homicides”), the Philadelphia Police Department (the “PPD”)

determined that all three victims were likely associated with the Jamaican Shower Posse

gang, which was then engaged in a territorial dispute with the Junior Black Mafia gang. Id.

at ¶ ¶ 3-5, 89-90. 92.

       Notwithstanding potential leads developed through this intelligence, two years

passed after the three homicides with no suspects arrested. Id. at ¶ ¶ 53-85, 121-40. It was

then that the PPD defendants allegedly coerced an informant named James White (“White”)

into implicating Plaintiff in the murders, identifying him by name and in a series of

photographs. Id. at ¶ ¶ 53-85, 142-167. Plaintiff contends that he was convicted of the

three homicides sheerly as a result of White’s false identification, and that no other

evidence connected him to the crimes. Id. at ¶ ¶ 4, 12, 141, 167. Plaintiff’s Amended

Complaint alleges that over twenty individuals, and/or entities, in addition to Moving

Defendant, are individually and collectively responsible for his alleged wrongful

prosecution, conviction, and incarceration. See generally Am. Compl., ECF No. 37.

       With regard to Moving Defendant, Plaintiff presents a sole factual allegation wholly

contained in a single paragraph of the 330-paragraph Amended Complaint. Plaintiff

contends that shortly after the three homicides, Moving Defendant,2 through a confidential

informant, confirmed a tip that a suspect known as “Q,”—who had vowed to “take care of

the Jamaicans,”—was selling drugs and firearms two blocks from where the Junior Black


2     As a point of clarity, Plaintiff mischaracterizes Moving Defendant’s rank within the
PPD as “a detective at the time of this investigation.” See Am. Compl. at ¶44. In fact,
Moving Defendant was a mere patrol officer.
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Mafia had warned the three homicide victims not to sell drugs. Plaintiff simply concludes

his allegations against Defendant by stating, “[t]his information was never disclosed.” See

Am. Compl. at ¶110.3 Plaintiff fails to allege any other facts against Moving Defendant.

    III.      STANDARD OF REVIEW

           To survive a motion to dismiss pursuant to Rule 12(b)(6), a complaint must contain

“sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its

face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The complaint must, at bare minimum,

contain “‘a short and plain statement of the claim showing that the pleader is entitled to

relief,’ in order to ‘give the defendant fair notice of what the . . . claim is and the grounds

upon which it rests.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley

v. Gibson, 355 U.S. 41, 47 (1957)). A complaint need not set forth detailed factual

allegations. However, “a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitlement to

relief’ requires more than labels and conclusions, and a formulaic recitation of the elements

of a cause of action will not do.” Id.

           Courts reviewing a motion to dismiss “are not bound to accept as true a legal

conclusion couched as a factual allegation.” Id., quoting Papasan v. Allain, 478 U.S. 265, 286

(1986). Courts must recognize that legal conclusions “are not entitled to the assumption of

truth.” Ashcroft v. Iqbal, 556 U.S. 662 (2009).


3       In a memorandum dated September 13, 1989, 12th Police District Commanding
Officer Captain Joseph P. Fox included the information allegedly provided by Officer Grier
in a memorandum to the Deputy Commissioner of Operations regarding intelligence
information gathered on the ongoing dispute between the Jamaican Shower Posse and
Junior Black Mafia organizations. As a mere patrol officer, it strains the imagination to see
how Moving Defendant could be civilly liable for any purported failure to disclose
information on the part of someone else—either his supervising officer or the
prosecution—after Moving Defendant properly reported the relevant information to his
superiors.
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   IV.        ARGUMENT

         As a prefatory matter, all Plaintiff’s claims against Moving Defendant fail because he

has not, and cannot, plead sufficient facts to establish Moving Defendant’s personal

involvement in any of Plaintiff’s allegedly suffered harms.

         Even if Plaintiff had pled an adequate factual basis to show Moving Defendant’s

personal involvement in the alleged wrongs giving rise to Plaintiff’s Amended Complaint,

and he has not, Plaintiff’s claims against Moving Defendant are legally insufficient. Moving

Defendant is entitled to qualified immunity on many of Plaintiff’s federal claims, including

malicious prosecution, withholding of evidence, inadequate investigation, and failure to

intervene, because the constitutional rights underlying these claims were not clearly

established at the time of the triple homicide investigation or Plaintiff’s conviction.

Additionally, Plaintiff’s claim of intentional infliction of emotional distress, pursuant to

state law, is barred by the applicable statute of limitations. For all these reasons, explained

more fully below, Plaintiff’s claims against Moving Defendant should be dismissed as a

matter of law.

         A.      Plaintiff’s Claims Against Former Officer John Grier Fail Because
                 Plaintiff Fails to Plead Facts Establishing Moving Defendant’s Personal
                 Involvement in Any Alleged Wrongs to Plaintiff.

         It is beyond cavil that liability for a civil rights claim cannot be imputed vicariously.

Evancho v. Fisher, 423 F.3d 347, 353 (3d Cir. 2005). Instead, a “defendant in a civil rights

action must have personal involvement in the alleged wrongs” to be liable. Rode v.

Dellarciprete, 845 F.2d 1195, 1207 (3d. Cir. 1988); see also Iqbal, 556 U.S. 662 at 676

(“[b]ecause vicarious liability is inapplicable to § 1983 suits, a plaintiff must plead that each




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Government-official defendant, through the defendant’s own actions, has violated the

Constitution.”)

       Here, Plaintiff seeks to hold Moving Defendant liable for federal, constitutional

claims of malicious prosecution, fabrication of evidence, withholding of evidence,

deliberately failing to conduct a constitutionally adequate investigation, failure to

intervene, civil rights conspiracy, with additional state law claims of malicious prosecution

and intentional infliction of emotional distress. But, as set forth above, only a single

paragraph of the 330 paragraphs comprising the Amended Complaint makes any factual

allegations implicating Moving Defendant. Plaintiff merely states that Moving Defendant

received a tip, indicating that a suspect in the triple investigation had been selling drugs

and firearms in an area where the victims had been warned not to sell drugs, and

confirmed it through “his” Confidential Informant. Plaintiff goes on to say that “[t]his

information was never disclosed.” See Am. Compl., at 44, 110.

       However, the Amended Complaint does not state who should have disclosed this

information, or to whom the information should have been disclosed. Specifically, the

Amended Complaint is devoid of any allegation that Moving Defendant failed to disclose the

information he received, either to his superior officers, or anyone else. Plaintiff does not

even contend that Moving Defendant was assigned to the murder investigation or that

Moving Defendant was involved directly, or even tangentially, in Plaintiff’s prosecution.

Indeed, Moving Defendant’s only nexus to Plaintiff appears to be that, while exercising his

duties as a law enforcement officer, he received a tip regarding a murder. Id. at 44, 110.

This failure is fatal to Plaintiff’s claims against Moving Defendant.




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       If Plaintiff’s sparse allegations against Moving Defendant are deemed sufficient to

prevail at this stage, the result would be preposterous. Indeed, this would suggest that

police officers, regardless of rank or responsibility, have a legal responsibility to review the

case file in every criminal matter they have ever handled, and ensure that even tangential

information they obtained—and subsequently provided to their superior officer—is

memorialized and ultimately disclosed to a future criminal defendant. Clearly, the

imposition of such a legal obligation would be untenable for the timely investigation and

prosecution of crime. As Plaintiff’s Amended Complaint contains no factual allegations

connecting Moving Defendant with the investigation, arrest, or prosecution of Moving

Defendant, it fails to state a claim that Moving Defendant was personally involved in any, let

alone all, of Plaintiff’s claimed constitutional wrongs. See e.g. Williams v. Papi, 714 Fed.

Appx. 128, 2017 U.S. App. LEXIS 21091, at 13 (3d. Cir. 2017) (reiterating that a government

official can only be liable for his or her own conduct, and that they accordingly must have

some sort of personal involvement in the alleged violation). Accordingly, Plaintiff’s claims

constitutional claims against Moving Defendant must be dismissed.

       Plaintiff’s inability to plead Moving Defendant’s personal involvement in Plaintiff’s

alleged wrongs likewise dooms Plaintiff’s intentional tort claims brought under state law.

See e.g., Gagliardi v. Lynn, 446 Pa. 144, 148 n.2 (1971) (defining elements of false

imprisonment liability, to include “an actor” as one “acts” to bring about the requisite

elements of the tort.) Here, Plaintiff’s Complaint does not even suggest that Moving

Defendant “acted” in any way to bring about Plaintiff’s alleged harms.

       Plaintiff’s state law claim for intentional emotional distress fails for the additional

reason that it is barred by the applicable statute of limitations. See 42 Pa. Cons. Stat. Ann.


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§ 5524(1), (7). Moving Defendant’s extremely limited involvement in the triple homicide

investigation ended two years before Plaintiff was even identified as a suspect, let alone

arrested and prosecuted.

       Plaintiff’s Amended Complaint, and its dearth of factual allegations regarding

Moving Defendant, falls woefully short of pleading Moving Defendant’s personal

involvement in any of the alleged constitutional or tort harms committed against Plaintiff.

Thus, all Plaintiff’s claims against Moving Defendant should be dismissed.

       B.      Plaintiff’s Fourteenth Amendment Malicious Prosecution, Withholding
               of Evidence (Counts II and III), Failure to Conduct a Constitutionally
               Adequate Investigation, and Failure to Intervene Claims Should be
               Dismissed Because the Officer Moving Defendant is Entitled to Qualified
               Immunity.

       Even if Plaintiff were able to plead Moving Defendant’s personal involvement in any

alleged constitutional harm—and he clearly cannot—several of the federal claims that

Plaintiff attempts to bring implicate rights that were not clearly established at the time of

the homicides. Should the Court decline to dismiss Plaintiff’s claims against Moving

Defendant based on his lack of personal involvement, it should dismiss the counts

delineated below on grounds of qualified immunity.

       Qualified immunity shields public officials from liability unless it is unquestionable

that the federal right said officials allegedly violated was “clearly established at the time of

the challenged conduct.” See George v. Rehiel, 738 F.3d 562, 572 (3d. Cir. 2013) (internal

citations omitted). A right only qualifies as clearly established if its “contours … are

sufficiently clear that every reasonable official would have understood that what he is doing

violates that right.” See Ashcroft v. Al-Kidd, 563 U.S. 731, 741 (2011) (citations and

quotations omitted) (emphasis supplied). Moreover, a right must be established in the


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light of the specific context of the case, not as a broad general proposition.” Mullenix v.

Luna, 136 S. Ct. 305, 308 (2015). District Courts must give serious consideration to

qualified immunity arguments made in motions to dismiss, because qualified immunity

provides defendants “an entitlement not to…face the…burdens of litigation.” See Rehiel,

738 F.3d at 571. “Accordingly, any claim of qualified immunity must be resolved at the

earliest possible stages of litigation.” Id. (internal citations omitted) (reversing district

court’s denial of a motion to dismiss based on qualified immunity after the district court

stated that such immunity “may be clarified by discovery.”)

               1.     Plaintiff’s Malicious Prosecution Claim Sounding in the
                      Fourteenth Amendment Implicates a Right Still Not Clearly
                      Established, Entitling Moving Defendant to Qualified Immunity.

       Moving Defendant first addresses Plaintiff’s malicious prosecution claim, in

violation of the Fourteenth Amendment, set forth in Count I of his Amended Complaint.

This Court has repeatedly acknowledged that the existence of a procedural due process

right against malicious prosecution remains an unsettled question of law. See e.g. Thomas

v. City of Philadelphia, 290 F. Supp. 3d 371, 380-82 (E.D. Pa. 2018). Consistent with the

requirement that entitlement to qualified immunity is predicated upon clear notice that

conduct will violate a particular constitutional right, the lack of a clear statement of law by

the Third Circuit Court of Appeals regarding whether a malicious prosecution claim can be

grounded in the Fourteenth Amendment means that Moving Defendant is entitled to

qualified immunity on this claim, and it should be dismissed. Id.; see also Lewis v. City of

Philadelphia, No. 19-2847, 2020 U.S. Dist. LEXIS 59729, at *16 (E.D. Pa. Apr. 6, 2020)

(collecting cases within the Circuit concluding there is no clearly established procedural

due process right against malicious prosecution).


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                  2.   The Attachment of Brady Disclosure Obligations to Police
                       Officers was Not Clearly Established until 2005, Entitling Moving
                       Defendant to Qualified Immunity from this Claim.

       Turning to Plaintiff’s “withholding of evidence” claim, set forth in Counts II and III of

the Amended Complaint, unfortunately for Plaintiff, the attachment of Brady disclosure

obligations to police officers, and their potential liability resulting from failure to comply,

was not clearly established until the Third Circuit Court of Appeals’ decision in Gibson v.

Superintendent of New Jersey Dep’t of Law & Public Safety—Division of Police, 411 F.3d

427, 443 (3d. Cir. 2005). There, the Third Circuit expressly noted that “[e]ven in 2000, this

Court was only able to assume that police officers ‘have an affirmative duty to disclose

exculpatory evidence to an accused if only by informing the prosecutor that the evidence

exists.” Id. at 444 (internal citations omitted); see also Lewis, 2020 U.S. Dist. LEXIS 59729,

at *28 (E.D. Pa. Apr. 6, 2020) (in assessing the applicability of qualified immunity to a Brady

claim brought in connection with a 1997 police investigation, finding that “the state of the

law regarding the Brady obligations of police officers was “not so clearly established that

every reasonable official would have understood that what he was doing violated that

obligation[.]”)

       In Gibson, the Third Circuit considered how the Supreme Court’s explication of the

Brady obligations of prosecutors in Kyles v. Whitley, 514 U.S. 419 (1995)—by which the

Supreme Court determined that prosecutors were responsible for the production of any

Brady material contained in police files—applied in the context of, or attached to, police

officers. Gibson, 411 F.3d at 442-44. In Kyles, the Supreme Court instructed that “the

individual prosecutor has a duty to learn of any favorable evidence known to the others

acting on the government’s behalf in the case, including the police. But whether the


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prosecutor succeeds or fails in meeting this obligation (whether, that is, a failure to disclose

is in good faith or in bad), the prosecution’s responsibility for failing to disclose known,

favorable evidence rising to a material level of importance is inescapable.” 514 U.S. 419,

437-48 (1995). The Gibson court relied on the prosecutor/police officer distinction when

it noted that “the related duty of the police to disclose information to a prosecutor was not

widely addressed until later [than the Kyles decision was issued.]” Gibson, 411 F.3d at 444.

       Interpretation of the Third Circuit’s express direction in Gibson, and the import of

Kyles, has varied somewhat among district courts throughout the Third Circuit. Notably, in

Thomas v. City of Philadelphia, the court considered an argument regarding the application

of qualified immunity to a Brady violation allegedly committed in 1993. 290 F. Supp. 3d

371 (2018). The court cited Gibson for the proposition that police officers’ Brady

obligations became clearly established in 1995, while treating Gibson as the first extension

of the Kyles holding to police officers. Id., at 387 (“the passage demonstrates that Gibson

extended the holding of Kyles—from knowledge of evidence imputed to a prosecutor, to a

“related” obligation on the part of the officer.” (emphasis in the original)).

       Both Pierre v. Treasury Department, No. 18-3443, 2019 U.S. Dist. LEXIS 81566, at

*17-18 (D.N.J. May 14, 2019) and Thorpe v. City of Philadelphia, No. 19-5094, 2020 U.S.

Dist. LEXIS 158682, at *34 (E.D. Pa. Sept. 1, 2020) cited Thomas for the former proposition,

that Brady disclosure obligations of police officers were clearly established in 1995,

without reference to the latter analysis or the express language of Gibson. By contrast, the

Lewis opinion cited above engaged substantively with the controlling authority, Gibson, to

conclude that a police officer’s Brady disclosure obligations were not clearly established

until 2005. The Court reached the same conclusion in Gilyard v. Dusak, No. 16-2986, 2018


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U.S. Dist. LEXIS 137429 (E.D. Pa. May 8, 2018), as it did in Outlaw v. City of Philadelphia, No.

21-1290, 2021 U.S. Dist. LEXIS at 147538, at *15-16 (E.D. Pa. Aug. 6, 2021).

       To reiterate, the Third Circuit in Gibson holds that Brady obligations were not

expressly determined to attach to police officers at the time of the investigation and

prosecution of Plaintiff here, which predated even the issuance of the Kyles opinion. This

Court should be guided by that controlling authority, which instructs that the attachment of

Brady disclosure obligations to police officers was not clearly established until 2005.

Because that right was not clearly established until long after the investigation and

prosecution underlying Plaintiff’s claims, Moving Defendant is entitled to qualified

immunity and this claim against him should be dismissed. Gibson, 411 F.3d at 443; Lewis,

2020 U.S. Dist. LEXIS 59729, at *28 (E.D. Pa. Apr. 6, 2020).

              3.      The Third Circuit Has Not Recognized a Failure to Investigate
                      Claim, Much Less Clearly Established that Such a Due Process
                      Right to an Investigation Existed at the Time of the Events Giving
                      Rise to Plaintiff’s Claims.

       The Third Circuit has never recognized, let alone clearly established, the right to a

constitutionally adequate investigation. Accordingly, Moving Defendant is entitled to

qualified immunity and dismissal of this claim. The Third Circuit’s reticence to recognize a

cause of action arising from an allegedly deficient investigation naturally follows from the

premise that there is “no constitutional right to a police investigation.” Whitehead v. City of

Philadelphia, No. 13-2167, 2014 U.S. Dist. LEXIS 21000 at *5 (E.D. Pa. Feb. 19, 2014). In

Wright v. City of Philadelphia, the Court noted that “[i]t certainly remains to be seen

whether there is an independent cause of action under the Fourteenth Amendment . . . for

failing to conduct a constitutionally adequate investigation,” and expressly declined to

affirmatively recognize such a right, notwithstanding the plaintiff’s invitation to do so. 229

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F. Supp. 3d 322, 332 n. 3 (E.D. Pa. 2017). Applying this principle—that no such

constitutional right or claim had yet been recognized by the Third Circuit Court of

Appeals—the Court in Thomas v. City of Philadelphia, 290 F. Supp. 3d 371, 386 (E.D. Pa.

2018), found that the defendant detectives there were entitled to qualified immunity

because, given the lack of any express statement that such a right existed at the time of

writing, it certainly could not be said that the right was clearly established decades prior.

Guided by this authority, the Court in Outlaw, 2021 U.S. Dist. LEXIS at 147538, at *16-17,

similarly concluded that qualified immunity attaches to such a claim. Pursuant to the

controlling authority cited above, Moving Defendant is entitled to qualified immunity from

Plaintiff’s claim of a constitutionally deficient investigation, and this claim should be

dismissed.

              4.      There is No Clearly Established Right to a Constitutional
                      Obligation to Intervene in an Investigation; thus, Moving
                      Defendant is Entitled to Qualified Immunity.

       Finally, Moving Defendant is entitled to qualified immunity on Plaintiff’s claim that

Moving Defendant failed to intervene “to prevent his malicious prosecution and

deprivation of liberty without due process of law[.]” See Am. Compl. at ¶296. This Court

has acknowledged as recently as 2017, that failure to intervene claims have been brought

“almost exclusively” in the context of excessive use of force. Ekwunife v. City of

Philadelphia, 245 F. Supp. 3d 660, 672 (E.D. Pa. 2017), aff’d, 756 F. App’x 165 (3d Cir. 2018)

(citing Third Circuit Model Jury Instruction (Civil) §4.6.2 (2015) (“A defendant can in

appropriate circumstances be held liable for failing to intervene to stop a beating.”)).

       In Ekwunife, this Court deliberately chose not to rely upon extra-jurisdictional

caselaw from 2011 in which a failure to intervene claim was recognized in the context of


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unconstitutional interrogations. 245 F. Supp. 3d at 672. In so doing, this Court refused to

expand the claim to cover allegations that a district attorney failed to correct information

used to arrest and detain an innocent man. Id. Relying on Ekwunife, in Thorpe, the Court

similarly concluded that “it was not sufficiently clear that reasonable officers would have

understood that failing to intervene when confronted with another’s fabrication and

withholding of evidence” would violate the plaintiff’s constitutional rights. 2020 U.S. Dist.

LEXIS 158682; see also Outlaw, 2021 U.S. Dist. LEXIS at 147538, at *12-13.

        Here, as in the cases discussed above, a constitutional obligation to intervene in an

investigation was not clearly established at the time of the investigation and arrest of

Plaintiff. Qualified immunity thus attaches to Plaintiff’s claim against Moving Defendant,

and this claim should be dismissed.

   V.      CONCLUSION

        For all the foregoing reasons, all claims against Moving Defendant, Officer John

Grier, should be dismissed.

                                            Respectfully submitted,

Dated: June 17, 2022                               /s/Alison J. Guest
                                                   ALISON J. GUEST (Pa. ID No. 202551)
                                                   AHMAD ZAFFARESE LLC
                                                   1 South Broad Street, Suite 1810
                                                   Philadelphia, PA 19107
                                                   Counsel for Defendant John Grier




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                                 CERTIFICATE OF SERVICE

       I, Alison J. Guest, Esquire, hereby certify that a true and correct copy of the foregoing

Motion to Dismiss in the above referenced matter was served upon all parties via the Court’s

CM/ECF system.


                                            AHMAD ZAFFARESE LLC

                                                  /s/ Alison J. Guest
                                            Alison J. Guest, Esquire (Pa. ID No. #202551)
                                            Counsel for John Grier
Date: June 17, 2022




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